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 8
 9                                       UNITED STATES DISTRICT COURT
10                                     EASTERN DISTRICT OF CALIFORNIA
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                                   )
13    GARY PALMER,                 ) Case No. 05-CV-1935 MCE (GGH)
                                   )
14                                 )
               Plaintiff,          ) ORDER CONTINUING HEARING
15                                 )
      v.                           ) DATE OF DEFENDANTS’ MOTIONS
16                                 ) FOR SUMMARY JUDGMENT
                                   )
17                                 )
      CHELSEA FINANCING            ).
18    PARTNERSHIP, LP; CLAIRE’S    )
                                   )
19    BOUTIQUES INC., dba CLAIRE’S )
      BOUTIQUES, et al,            )
20                                 )
                                   )
21             Defendants.         )
                                   )
22                                 )
                                   )
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      Palmer v. Chelsea Financing Partnership, LP, et al., Case No. 05-CV-1935 MCE (GGH)
      Proposed Order Continuing Hearing Date of Defendants’ Motions for Summary Judgment
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     Case 2:05-cv-01935-MCE-GGH Document 240 Filed 08/02/06 Page 2 of 2


 1                                                                ORDER
 2              GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that
 3    the hearing date of the motions for summary judgment of defendants Eddie Bauer,
 4    Inc.; Guess? Retail, Inc.; Jockey International Global, Inc.; Fossil Stores I, Inc.; The
 5    Bombay Company, Inc.; Zale Delaware, Inc.; Ultra Stores, Inc.; Tommy Hilfiger
 6    Retail, LLC; and Stride Rite Children’s Group, Inc., currently set for September 11,
 7    2006, is continued to January 29, 2007, at 9 a.m. in Courtroom 3 of the above-
 8    referenced Court.
 9    DATED: August 1, 2006
10                                                             __________________________________
                                                               MORRISON C. ENGLAND, JR
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                                                               UNITED STATES DISTRICT JUDGE
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      Palmer v. Chelsea Financing Partnership, LP, et al., Case No. 05-CV-1935 MCE (GGH)
      Proposed Order Continuing Hearing Date of Defendants’ Motions for Summary Judgment
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